         Case 19-50277-SCS                    Doc 209        Filed 08/13/19 Entered 08/13/19 17:22:16                  Desc Main
Fill in this information to identify the case:              Document     Page 1 of 34
            Insignia Technology Services, LLC
Debtor Name __________________________________________________________________


                                        Eastern District
United States Bankruptcy Court for the: _______          of________
                                                District of Virginia

                                                                                                                      Check if this is an
Case number: 19-50277-SCS
             _________________________
                                                                                                                        amended filing




Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11                                                                             12/17

Month:                July 2019
                     ___________                                                                Date report filed:    08/15/2019
                                                                                                                      ___________
                                                                                                                      MM / DD / YYYY

                   Information Technology
Line of business: ________________________                                                      NAISC code:           54152
                                                                                                                      ___________

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                          President/CEO
                                            ____________________________________________

Original signature of responsible party     ____________________________________________

Printed name of responsible party           Frederick P. O'Brien
                                            ____________________________________________


              1. Questionnaire
    Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                           Yes     No        N/A
         If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

    1.   Did the business operate during the entire reporting period?                                                      
                                                                                                                           ✔                
    2.   Do you plan to continue to operate the business next month?                                                       
                                                                                                                           ✔                
    3.   Have you paid all of your bills on time?                                                                          
                                                                                                                           ✔                
    4.   Did you pay your employees on time?                                                                               
                                                                                                                           ✔                
    5.   Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                   
                                                                                                                           ✔                
    6.   Have you timely filed your tax returns and paid all of your taxes?                                                
                                                                                                                           ✔                
    7.   Have you timely filed all other required government filings?                                                      
                                                                                                                           ✔                
    8.   Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                   
                                                                                                                           ✔                
    9.   Have you timely paid all of your insurance premiums?                                                              
                                                                                                                           ✔                
         If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.
    10. Do you have any bank accounts open other than the DIP accounts?                                                           
                                                                                                                                   ✔         
    11. Have you sold any assets other than inventory?                                                                            
                                                                                                                                   ✔         
    12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?                     
                                                                                                                                   ✔         
    13. Did any insurance company cancel your policy?                                                                             
                                                                                                                                   ✔         
    14. Did you have any unusual or significant unanticipated expenses?                                                           
                                                                                                                                   ✔         
    15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                                       
                                                                                                                                   ✔         
    16. Has anyone made an investment in your business?                                                                           
                                                                                                                                   ✔         
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Debtor Name Insignia Technology Services, LLC
             _______________________________________________________                              19-50277-SCS
                                                                                      Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                              
                                                                                                                                    ✔          
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                                
                                                                                                                                    ✔          


            2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                              $ __________
                                                                                                                                3,376,788.00
        This amount must equal what you reported as the cash on hand at the end of the month in the previous
        month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
        Attach a listing of all cash received for the month and label it Exhibit C. Include all
        cash received even if you have not deposited it at the bank, collections on
        receivables, credit card deposits, cash received from other parties, or loans, gifts, or
        payments made by other parties on your behalf. Do not attach bank statements in
        lieu of Exhibit C.
                                                                                                        3,773,522.00
                                                                                                      $ __________
        Report the total from Exhibit C here.
    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.
                                                                                                      - $ __________
                                                                                                          1,641,255.00
        Report the total from Exhibit D here.

    22. Net cash flow
        Subtract line 21 from line 20 and report the result here.                                                         +   $ 2,132,268.00
                                                                                                                                __________

        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
                                                                                                                                5,509,056.00
        Report this figure as the cash on hand at the beginning of the month on your next operating report.               =   $ __________

        This amount may not match your bank account balance because you may have outstanding checks that
        have not cleared the bank or deposits in transit.



            3. Unpaid Bills
        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                           1,791,819.00
                                                                                                                              $ ____________

              (Exhibit E)




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Debtor Name Insignia Technology Services, LLC
             _______________________________________________________                                 19-50277-SCS
                                                                                         Case number_____________________________________




            4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                              3,682,146.00
                                                                                                                                   $ ____________

              (Exhibit F)



            5. Employees
                                                                                                                                              115
                                                                                                                                     ____________
    26. What was the number of employees when the case was filed?
                                                                                                                                               99
                                                                                                                                     ____________
    27. What is the number of employees as of the date of this monthly report?



            6. Professional Fees
                                                                                                                                             0.00
                                                                                                                                   $ ____________
    28. How much have you paid this month in professional fees related to this bankruptcy case?

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?                      $ ____________
                                                                                                                                         20,000.00
                                                                                                                                   $ ____________
    30. How much have you paid this month in other professional fees?

    31. How much have you paid in total other professional fees since filing the case?                                                   47,732.95
                                                                                                                                   $ ____________

                                                                                                     Retainer paid Katz Abosch as approved by the
                                                                                                     court

            7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                      Column C
                                        Projected                –   Actual                    =   Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of           Subtract Column B
                                        the previous month’s         this report.                  from Column A.
                                        report.
                                           6,234,873.00
                                        $ ____________           –      3,773,522.00
                                                                     $ ____________
                                                                                               =      -2,461,350.00
                                                                                                   $ ____________
    32. Cash receipts
                                          -1,599,366.00                -1,641,255.00           =        -41,888.00
    33. Cash disbursements              $ ____________           –   $ ____________                $ ____________

                                           4,635,507.00          –      2,132,267.00           =      -2,503,239.00
    34. Net cash flow                   $ ____________               $ ____________                $ ____________


                                                                                                                                      2,127,696.00
                                                                                                                                   $ ____________
    35. Total projected cash receipts for the next month:

    36. Total projected cash disbursements for the next month:                                                                   - $ ____________
                                                                                                                                     -1,912,276.00

    37. Total projected net cash flow for the next month:
                                                                                                                                 = $ ____________
                                                                                                                                       215,420.00




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Debtor Name Insignia Technology Services, LLC
             _______________________________________________________                              19-50277-SCS
                                                                                      Case number_____________________________________




            8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

    
    ✔   38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

    ✔
       39. Bank reconciliation reports for each account.

    ✔
       40. Financial reports such as an income statement (profit & loss) and/or balance sheet.


       41. Budget, projection, or forecast reports.


       42. Project, job costing, or work-in-progress reports.




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                                                                  Insignia 08/13/19Services,
                                                                                        Entered
                                                                                             LLC 08/13/19 17:22:16                           Desc Main               Exhibit C
                                                                  Document Deposit Page
                                                                                   Detail 5 of 34
                                                                                July 1-31, 2019



SUBJECT: Cash Receipts                                                                            Cash Receipts                                           $   3,773,523.70
Period: July 1, 2019 to July 31, 2019                                                             Less Transfers                                          $           0.78
Last Updated: August 8, 2019                                                                      Actual Cash Receipts                                    $   3,773,522.92

1009 ꞏ Insignia OP DIP 9370
     Type             Num              Date                             Name                           Memo                     Account             Clr       Amount
Payment          T4NG7022           07/02/2019   13.01.540007.01-EVSS OY1                                           1200 ꞏ Accounts Receivable       √    $     446,599.32
Payment          ICON0060           07/02/2019   13.01.550004.04-iContent OY 4                                      1200 ꞏ Accounts Receivable       √    $      17,048.53
General Journal 2515                07/02/2019   Payroll Tax Deposit                              Reimbursement for 6035 ꞏ Payroll Tax Expense       √    $         501.38
Deposit          1                  07/05/2019   Payroll Tax Deposit                              Deposit           6035 ꞏ Payroll Tax Expense       √    $       4,907.03
Payment          T4NG4029           07/12/2019   13.01.540004.02-OI&T ITOPS IO IT Srvc O2                           1200 ꞏ Accounts Receivable       √    $     137,130.03
Payment          T4NG4030           07/12/2019   13.01.540004.02-OI&T ITOPS IO IT Srvc O2                           1200 ꞏ Accounts Receivable       √    $     137,130.03
Payment          TF3I0016 17        07/15/2019   12.01.100017.00- AF (F3I)                                          1200 ꞏ Accounts Receivable       √    $      91,590.00
Payment          T4NG2035           07/15/2019   13.01.540002.01-AACS OP2                                           1200 ꞏ Accounts Receivable       √    $      13,080.02
Payment          T4NG2036           07/15/2019   13.01.540002.01-AACS OP2                                           1200 ꞏ Accounts Receivable       √    $      13,080.02
Payment          ICON0061           07/18/2019   :13.01.550004.04-iContent OY 4                                     1200 ꞏ Accounts Receivable       √    $      17,048.53
Payment          HCIDM0063          07/18/2019   13.01.100017.04-HCIdM OY 4                                         1200 ꞏ Accounts Receivable       √    $      88,302.24
Payment          HCIDM0064          07/18/2019   13.01.100017.04-HCIdM OY 4                                         1200 ꞏ Accounts Receivable       √    $      88,302.24
Payment          T4NG110007         07/18/2019   13.01.540011.00-ISPPM Support BY                                   1200 ꞏ Accounts Receivable       √    $      97,739.19
Payment          T4NG110008         07/18/2019   13.01.540011.00-ISPPM Support BY                                   1200 ꞏ Accounts Receivable       √    $      97,739.19
Payment          T4NG10007          07/18/2019   13.01.540010.00-NBEKRSS BY                                         1200 ꞏ Accounts Receivable       √    $      99,420.60
Payment          T4NG10008          07/18/2019   13.01.540010.00-NBEKRSS BY                                         1200 ꞏ Accounts Receivable       √    $      99,420.60
Payment          T4NG6023           07/18/2019   13.01.540006-Enterprise Architecture                               1200 ꞏ Accounts Receivable       √    $   1,107,320.76
Payment          T4NG2037           07/22/2019   13.01.540002.01-AACS OP2                                           1200 ꞏ Accounts Receivable       √    $      13,080.02
Deposit          2                  07/23/2019   Payroll Tax Deposit                              Deposit           6035 ꞏ Payroll Tax Expense       √    $           1.59
Payment          T4NG5022           07/25/2019   13.01.540005.01-CAATS Sustainment OY 1                             1200 ꞏ Accounts Receivable       √    $      20,224.85
Payment          T4NG5023           07/25/2019   13.01.540005.01-CAATS Sustainment OY 1                             1200 ꞏ Accounts Receivable       √    $      20,233.70
Payment          T4NG8020           07/25/2019   13.01.540008.02-Denver Replacement Hospit                          1200 ꞏ Accounts Receivable       √    $      65,754.58
Payment          T4NG8021           07/25/2019   13.01.540008.02-Denver Replacement Hospit                          1200 ꞏ Accounts Receivable       √    $      65,783.35
Payment          T4NG7021           07/26/2019   13.01.540007.01-EVSS OY1                                           1200 ꞏ Accounts Receivable       √    $     446,599.32
Payment          T4NG7023           07/26/2019   13.01.540007.01-EVSS OY1                                           1200 ꞏ Accounts Receivable       √    $     446,599.32
Deposit          3                  07/26/2019   Payroll Tax Deposit                              Deposit           -SPLIT-                          √    $      20,548.16
Payment          FMBT001R, 002      07/29/2019   13.01.300019.00-FMBT PMO BY FFP                                    1200 ꞏ Accounts Receivable       √    $     114,956.40
                                                                                                                                       Total Deposited:   $   3,770,141.00

1011 ꞏ Cap One Check DIP 9084
     Type            Num               Date                           Name                              Memo                    Account              Clr      Amount
Transfer       1                    07/03/2019 Transfer                                           Funds Transfer    1008 ꞏ Insignia Savings Account 8 √ $             0.78
Deposit        1                    07/31/2019 Interest Income                                    Deposit           9100 ꞏ Interest Income            √ $         3,381.92
                                                                                                                                        Total Deposited: $        3,382.70
8/8/19                                                Insignia Technology Services, LLC                                                    Exhibit D
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                                                         Cash08/13/19
                                                              Disbursements   Entered 08/13/19 17:22:16                   Desc Main
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SUBJECT: Insignia Cash Disbursements                                                    Total Cash Disbursements                $   (1,641,256.01)
Period: July 1, 2019 to July 31, 2019                            (Accural Basis)        Less Transfers                          $           (0.78)
Last Updated: August 8, 2019                                                            Net Cash Disbursements                  $   (1,641,255.23)



                                                                                                      Account                   Original Amount
                                                                                        9370                                    $ (1,641,255.23)
                                                                                        8877                                    $          (0.78)
                                                                                        Total Cash Basis Disbursements          $ (1,641,256.01)

Withdrawals and other Debits
Account       Type           Num        Date Check                   Name                                Account                Original Amount
                                        was written
9370      Bill Pmt -Check   ACH         07/01/2019    Capital One                       1009 ꞏ Insignia OP DIP 9370             $       (5,185.64)
9370      General Journal   PR070519    07/05/2019    Paydate 7/5/19                    1009 ꞏ Insignia OP DIP 9370             $     (286,940.09)
9370      General Journal   PR070519    07/05/2019    Paydate 7/5/19                    1009 ꞏ Insignia OP DIP 9370             $     (124,562.65)
9370      Bill Pmt -Check   ACH         07/08/2019    BENEFLEX                          1009 ꞏ Insignia OP DIP 9370             $       (2,137.75)
9370      Bill Pmt -Check   ACH         07/10/2019    Optum Bank                        1009 ꞏ Insignia OP DIP 9370             $          (52.25)
9370      Bill Pmt -Check   ACH         07/11/2019    Alerus Financial                  1009 ꞏ Insignia OP DIP 9370             $      (22,407.13)
9370      Check             ACH         07/15/2019    Capital One                       1009 ꞏ Insignia OP DIP 9370             $       (8,386.39)
9370      Bill Pmt -Check   ACH         07/16/2019    Optum Bank                        1009 ꞏ Insignia OP DIP 9370             $       (8,207.08)
9370      Bill Pmt -Check   ACH         07/16/2019    FRED O'BRIEN                      1009 ꞏ Insignia OP DIP 9370             $      (11,456.85)
9370      Bill Pmt -Check   ACH         07/18/2019    Akshita Tek Systems, Inc.         1009 ꞏ Insignia OP DIP 9370             $      (15,200.00)
9370      Bill Pmt -Check   ACH         07/18/2019    CACI Enterprise Solutions, Inc.   1009 ꞏ Insignia OP DIP 9370             $     (229,813.08)
9370      Bill Pmt -Check   ACH         07/18/2019    FRED O'BRIEN                      1009 ꞏ Insignia OP DIP 9370             $      (11,456.85)
9370      Bill Pmt -Check   ACH         07/18/2019    Laura Smith                       1009 ꞏ Insignia OP DIP 9370             $         (137.50)
9370      Bill Pmt -Check   ACH         07/18/2019    PKS, LLC                          1009 ꞏ Insignia OP DIP 9370             $      (13,950.00)
9370      Bill Pmt -Check   ACH         07/18/2019    Global Insights + Solutions LLC   1009 ꞏ Insignia OP DIP 9370             $       (1,005.39)
9370      Bill Pmt -Check   ACH         07/18/2019    EA Frameworks, LLC                1009 ꞏ Insignia OP DIP 9370             $      (20,700.80)
9370      Bill Pmt -Check   ACH         07/18/2019    VAIL Technologies, LLC            1009 ꞏ Insignia OP DIP 9370             $      (18,052.32)
9370      Bill Pmt -Check   ACH         07/19/2019    AFLAC                             1009 ꞏ Insignia OP DIP 9370             $       (1,019.30)
9370      Bill Pmt -Check   ACH         07/19/2019    BENEFLEX                          1009 ꞏ Insignia OP DIP 9370             $       (1,990.78)
9370      Bill Pmt -Check   ACH         07/19/2019    InQuisient                        1009 ꞏ Insignia OP DIP 9370             $      (20,115.00)
9370      Bill Pmt -Check   ACH         07/19/2019    Kinetic Solutions, LLC            1009 ꞏ Insignia OP DIP 9370             $      (15,200.00)
9370      Bill Pmt -Check   ACH         07/19/2019    Leading Strategy, Inc.            1009 ꞏ Insignia OP DIP 9370             $      (14,440.00)
9370      Bill Pmt -Check   ACH         07/19/2019    Zeva Incorporated                 1009 ꞏ Insignia OP DIP 9370             $      (26,696.00)
9370      General Journal   PR071919    07/19/2019    Paydate 7/19/19                   1009 ꞏ Insignia OP DIP 9370             $     (300,494.94)
9370      General Journal   PR071919    07/19/2019    Paydate 7/19/19                   1009 ꞏ Insignia OP DIP 9370             $     (128,715.36)
9370      Bill Pmt -Check   ACH         07/19/2019    Optum Bank                        1009 ꞏ Insignia OP DIP 9370             $       (6,001.41)
9370      Bill Pmt -Check   ACH         07/19/2019    IGES, LLC                         1009 ꞏ Insignia OP DIP 9370             $      (20,700.80)
9370      Bill Pmt -Check   ACH         07/24/2019    KatzABosch                        1009 ꞏ Insignia OP DIP 9370             $      (20,000.00)
9370      Bill Pmt -Check   ACH         07/25/2019    Alerus Financial                  1009 ꞏ Insignia OP DIP 9370             $      (23,446.72)
9370      Check             ACH         07/29/2019    Capital One                       1009 ꞏ Insignia OP DIP 9370             $       (1,315.17)
9370      Bill Pmt -Check   ACH         07/30/2019    Alerus Financial                  1009 ꞏ Insignia OP DIP 9370             $      (22,808.54)
                                                                                                 Total Withdrawals and Debits   $   (1,382,595.79)




                                                                                                                                          Page 1 of 3
8/8/19                                                Insignia Technology Services, LLC                                                    Exhibit D
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                                                         Cash08/13/19
                                                              Disbursements   Entered 08/13/19 17:22:16                     Desc Main
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SUBJECT: Insignia Cash Disbursements                                                    Total Cash Disbursements                $   (1,641,256.01)
Period: July 1, 2019 to July 31, 2019                           (Accural Basis)         Less Transfers                          $           (0.78)
Last Updated: August 8, 2019                                                            Net Cash Disbursements                  $   (1,641,255.23)



                                                                                                      Account                   Original Amount
                                                                                        9370                                    $ (1,641,255.23)
                                                                                        8877                                    $          (0.78)
                                                                                        Total Cash Basis Disbursements          $ (1,641,256.01)

Checks
 Account        Type            Num     Date Check                  Name                                 Account                Original Amount
                                        was written
9370       Bill Pmt -Check   1066       07/05/2019    Bernstein Management Corporation 1009 ꞏ Insignia OP DIP 9370             $       (3,758.83)
9370       Bill Pmt -Check   1067       07/05/2019    PCT LLC                          1009 ꞏ Insignia OP DIP 9370             $      (10,159.26)
9370       Bill Pmt -Check   1068       07/05/2019    STH, LLC                         1009 ꞏ Insignia OP DIP 9370             $       (1,726.67)
9370       Bill Pmt -Check   1069       07/11/2019    Costco                           1009 ꞏ Insignia OP DIP 9370             $         (741.27)
9370       Bill Pmt -Check   1070       07/18/2019    MARYLAND CHILD SUPPORT ENF1009 ꞏ Insignia OP DIP 9370                    $       (1,487.08)
9370       Bill Pmt -Check   1071       07/18/2019    NJ Support Payment Center        1009 ꞏ Insignia OP DIP 9370             $       (1,832.00)
9370       Bill Pmt -Check   1072       07/18/2019    Ally Bank                        1009 ꞏ Insignia OP DIP 9370             $         (293.65)
9370       Bill Pmt -Check   1073       07/18/2019    BENEFLEX                         1009 ꞏ Insignia OP DIP 9370             $         (807.20)
9370       Bill Pmt -Check   1074       07/18/2019    Checkr Inc.                      1009 ꞏ Insignia OP DIP 9370             $          (70.00)
9370       Bill Pmt -Check   1075       07/18/2019    City of Newport News             1009 ꞏ Insignia OP DIP 9370             $         (420.25)
9370       Bill Pmt -Check   1076       07/18/2019    COMCAST                          1009 ꞏ Insignia OP DIP 9370             $         (192.11)
9370       Bill Pmt -Check   1077       07/18/2019    Cox Communications               1009 ꞏ Insignia OP DIP 9370             $         (285.99)
9370       Bill Pmt -Check   1078       07/18/2019    Dominion Energy South Carolina   1009 ꞏ Insignia OP DIP 9370             $         (159.90)
9370       Bill Pmt -Check   1079       07/18/2019    Dominion Energy Virginia         1009 ꞏ Insignia OP DIP 9370             $       (1,257.69)
9370       Bill Pmt -Check   1080       07/18/2019    EGGLESTON SERVICES               1009 ꞏ Insignia OP DIP 9370             $          (45.00)
9370       Bill Pmt -Check   1081       07/18/2019    Great America Financial Svcs     1009 ꞏ Insignia OP DIP 9370             $         (440.98)
9370       Bill Pmt -Check   1082       07/18/2019    HRSD                             1009 ꞏ Insignia OP DIP 9370             $          (10.06)
9370       Bill Pmt -Check   1083       07/18/2019    LegalShield                      1009 ꞏ Insignia OP DIP 9370             $         (355.00)
9370       Bill Pmt -Check   1084       07/18/2019    Light's Lock & Key               1009 ꞏ Insignia OP DIP 9370             $         (382.00)
9370       Bill Pmt -Check   1085       07/18/2019    Metlife                          1009 ꞏ Insignia OP DIP 9370             $       (6,145.20)
9370       Bill Pmt -Check   1086       07/18/2019    Mutual of Omaha                  1009 ꞏ Insignia OP DIP 9370             $       (4,543.47)
9370       Bill Pmt -Check   1087       07/18/2019    NJ E-Z Pass                      1009 ꞏ Insignia OP DIP 9370             $          (54.60)
9370       Bill Pmt -Check   1088       07/18/2019    PERRY JOHNSON REGISTRARS IN 1009 ꞏ Insignia OP DIP 9370                  $       (1,910.50)
9370       Bill Pmt -Check   1089       07/18/2019    Powers Business Machines, Inc.   1009 ꞏ Insignia OP DIP 9370             $         (184.49)
9370       Bill Pmt -Check   1090       07/18/2019    State Corporation Commission     1009 ꞏ Insignia OP DIP 9370             $          (50.00)
9370       Bill Pmt -Check   1091       07/18/2019    The Hartford                     1009 ꞏ Insignia OP DIP 9370             $       (2,357.97)
9370       Bill Pmt -Check   1092       07/18/2019    U.S. Trustee Payment Center      1009 ꞏ Insignia OP DIP 9370             $           (7.95)
9370       Bill Pmt -Check   1093       07/18/2019    UHS Premium Billing              1009 ꞏ Insignia OP DIP 9370             $     (140,593.25)
9370       Bill Pmt -Check   1094       07/18/2019    Vision Service Plan              1009 ꞏ Insignia OP DIP 9370             $         (900.46)
9370       Bill Pmt -Check   1095       07/18/2019    WOW!                             1009 ꞏ Insignia OP DIP 9370             $         (104.98)
9370       Bill Pmt -Check   1096       07/18/2019    PAYCHEX                          1009 ꞏ Insignia OP DIP 9370             $         (496.87)
9370       Bill Pmt -Check   1097       07/18/2019    Sprezzatura                      1009 ꞏ Insignia OP DIP 9370             $      (14,844.80)
9370       Bill Pmt -Check   1098       07/18/2019    PAYCHEX                          1009 ꞏ Insignia OP DIP 9370             $         (931.00)
9370       Bill Pmt -Check   1099       07/18/2019    VERIZON WIRELESS                 1009 ꞏ Insignia OP DIP 9370             $       (3,394.43)
9370       Bill Pmt -Check   1100       07/18/2019    Virginia Natural Gas             1009 ꞏ Insignia OP DIP 9370             $          (21.88)
9370       Bill Pmt -Check   1101       07/26/2019    U.S. Trustee Payment Center      1009 ꞏ Insignia OP DIP 9370             $      (57,299.00)
                                                                                                                   Total Checks $   (258,265.79)




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8/8/19                                                Insignia Technology Services, LLC                                               Exhibit D
         Case 19-50277-SCS               Doc 209       Filed
                                                         Cash08/13/19
                                                              Disbursements   Entered 08/13/19 17:22:16                  Desc Main
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SUBJECT: Insignia Cash Disbursements                                               Total Cash Disbursements                $   (1,641,256.01)
Period: July 1, 2019 to July 31, 2019                         (Accural Basis)      Less Transfers                          $           (0.78)
Last Updated: August 8, 2019                                                       Net Cash Disbursements                  $   (1,641,255.23)



                                                                                                 Account                   Original Amount
                                                                                   9370                                    $ (1,641,255.23)
                                                                                   8877                                    $          (0.78)
                                                                                   Total Cash Basis Disbursements          $ (1,641,256.01)

Outstanding Checks
 Account      Type                Num   Date Check                Name                              Account                Original Amount
                                        was written
9370         Bill Pmt -Check   1102     07/26/2019    BENEFLEX                     1009 ꞏ Insignia OP DIP 9370             $        (109.60)
9370         Bill Pmt -Check   1103     07/26/2019    HRSD                         1009 ꞏ Insignia OP DIP 9370             $         (22.85)
9370         Bill Pmt -Check   1104     07/26/2019    NEWPORT NEWS WATERWORKS      1009 ꞏ Insignia OP DIP 9370             $        (128.37)
9370         Bill Pmt -Check   1105     07/26/2019    Virginia Natural Gas         1009 ꞏ Insignia OP DIP 9370             $         (16.95)
9370         Bill Pmt -Check   1106     07/26/2019    WOW!                         1009 ꞏ Insignia OP DIP 9370             $        (115.88)
                                                                                                              Outstanding: $        (393.65)

Total 9370                                                                                                                 $   (1,641,255.23)



Transfers
 Account          Type            Num   Date Check                Name                              Account                Original Amount
                                        was written
8877         Transfer          ACH      07/03/2019                                 1008 ꞏ Insignia Savings Acount 8877     $           (0.78)
                                                                                                                           $          (0.78)

Total 8877                                                                                                                 $           (0.78)




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                                                             Insignia Technology Services, LLC
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Accounts Payable Listing
As of July 31, 2019             Pre-Petition AP                            $                               1,771,595.52
                                Post Petition AP                           $                                  32,849.78
                                Erroneus Payments due to repaid            $                                 (12,625.75)
                                Total AP                                   $                               1,791,819.55

Post Petition Accounts Payable
  Petition           Type          Date                  Num                                      Name                     Due Date         Open Balance
POST          Bill               07/15/2019   668525-193                  Alerus Financial                                 07/25/2019   $         3,463.06
POST          Bill               07/17/2019   Mazda- July 2019            Ally Bank                                        08/16/2019   $           293.65
POST          Bill               07/03/2019   19060035409                 Bank of America- Account Analysis                08/02/2019   $             2.36
POST          Bill               07/25/2019   CHS 6/20 to 7/23/19         Dominion Energy South Carolina                   08/14/2019   $           194.60
POST          Bill               04/17/2019   2348955-2                   Fox Rothschild LLP                               05/17/2019   $         6,924.31
POST          Bill               07/15/2019   25171992                    Great America Financial Svcs                     08/09/2019   $           202.30
POST          Bill               07/31/2019   25274614                    Great America Financial Svcs                     08/25/2019   $           148.68
POST          Bill               05/06/2019   072806-00004-287426         JONES, BLECHMAN, WOLTZ & KELLY, P.C              05/16/2019   $           380.00
POST          Bill               05/06/2019   072806-00022-287431         JONES, BLECHMAN, WOLTZ & KELLY, P.C              05/16/2019   $           150.00
POST          Bill               05/06/2019   072806-00025-287425         JONES, BLECHMAN, WOLTZ & KELLY, P.C              06/05/2019   $         4,265.00
POST          Bill               05/06/2019   072806-00028-287432         JONES, BLECHMAN, WOLTZ & KELLY, P.C              06/05/2019   $         1,340.00
POST          Bill               05/06/2019   072806-00031-287428         JONES, BLECHMAN, WOLTZ & KELLY, P.C              05/16/2019   $           160.00
POST          Bill               07/15/2019   00040-2                     PKS, LLC                                         07/30/2019   $         4,882.50
POST          Bill               07/30/2019   446886                      Powers Business Machines, Inc.                   08/09/2019   $           121.12
POST          Bill               07/31/2019   Insignia3                   The Russo Group                                  08/30/2019   $         8,800.00
POST          Bill               07/07/2019   9833605787                  VERIZON WIRELESS                                 07/27/2019   $         1,522.20
Total Post Petition Accounts Payable                                                                                                    $        32,849.78


Erroneous Payment of Pre-petition claims requested repaid, but still outstanding
  Petition         Type           Date                  Num                                         Name                   Due Date         Open Balance
POST         Bill Pmt -Check    02/27/2019 5593                            Brown & Edwards CPA                                          $       (10,000.00)
POST         Bill Pmt -Check    04/05/2019 5663                            SELMAN & COMPANY                                             $          (489.50)
POST         Bill Pmt -Check    03/19/2019 ACH                             Cinderella's Plan B, LLC                                     $          (807.50)
POST         Bill Pmt -Check    03/19/2019 ACH                             Cinderella's Plan B, LLC                                     $        (1,253.75)
POST         Bill Pmt -Check    03/22/2019 ACH                             TapRoot Solutions, Inc.                                      $           (75.00)
Total erroneous Payment of Pre-petition claims requested repaid, but still outstanding                                                  $       (12,625.75)


Pre-petition Accounts Payable
  Petition         Type            Date                  Num                                       Name                    Due Date         Open Balance
PRE           Bill               01/30/2019   DIP 993091231               ADOBE SYSTEMS, INC                               03/01/2019   $           431.68
PRE           Bill               03/04/2019   DIP 01/2019                 Akshita Tek Systems, Inc.                        03/19/2019   $        16,720.00
PRE           Bill               03/06/2019   DIP 02/2019                 Akshita Tek Systems, Inc.                        03/21/2019   $        14,440.00
PRE           Bill               03/04/2019   DIP 03/2018-1               Akshita Tek Systems, Inc.                        03/19/2019   $           760.00
PRE           Bill               04/09/2019   DIP 3/2019-1                Akshita Tek Systems, Inc.                        04/24/2019   $           760.00
PRE           Bill               03/17/2019   DIP 0001                    Ally Bank                                        04/05/2019   $           293.65
PRE           Bill               02/07/2019   DIP AA01955485              Apple Inc.                                       03/09/2019   $         5,708.10
PRE           Bill               02/07/2019   DIP AA01966878              Apple Inc.                                       03/09/2019   $         1,487.80
PRE           Bill               02/07/2019   DIP AA02004950              Apple Inc.                                       03/09/2019   $           641.30
PRE           Bill               01/30/2019   DIP 1217330                 Brown & Edwards CPA                              01/30/2019   $        20,000.00
PRE           Bill               12/01/2018   DIP 0015                    CACI Enterprise Solutions, Inc.                  12/31/2018   $       193,627.64
PRE           Bill               12/01/2018   DIP 0016                    CACI Enterprise Solutions, Inc.                  12/31/2018   $       237,232.30
PRE           Bill               01/04/2019   DIP 0018                    CACI Enterprise Solutions, Inc.                  02/03/2019   $       253,057.99
PRE           Bill               03/25/2019   DIP INV-0002569287          CACI Enterprise Solutions, Inc.                  04/24/2019   $       294,361.58
PRE           Bill               03/15/2019   DIP INV-0002592302          CACI Enterprise Solutions, Inc.                  04/14/2019   $       276,973.09
PRE           Bill               04/10/2019   DIP INV-0002636619          CACI Enterprise Solutions, Inc.                  05/10/2019   $        13,531.44
PRE           Bill               04/12/2019   DIP-INV0002317108           CACI Enterprise Solutions, Inc.                  05/12/2019   $        21,011.54
PRE           Bill               04/19/2019   DIPBPC150002647-2018        Charleston County Treasurer                      04/29/2019   $           133.84
PRE           Bill               03/07/2019   DIP 11                      Cinderella's Plan B, LLC                         03/17/2019   $         1,253.75
PRE           Bill               03/06/2019   DIP 12                      Cinderella's Plan B, LLC                         03/16/2019   $           807.50
PRE           Bill               05/01/2019   DIP Acura 19 pp tax         City of Newport News                             06/05/2019   $           154.32
PRE           Bill               05/01/2019   DIP BusEquip 2019 #1        City of Newport News                             06/05/2019   $         1,169.95
PRE           Bill               06/06/2019   DIPMazda pp tax 2019        City of Newport News                             06/16/2019   $            86.86
PRE           Bill               02/04/2019   DIP 430117407               Dell Business Credit                             03/01/2019   $        15,296.55
PRE           Bill               02/04/2019   DIP 797                     EA Frameworks, LLC                               03/06/2019   $        20,700.80
PRE           Bill               03/04/2019   DIP 798                     EA Frameworks, LLC                               04/03/2019   $        19,611.28
PRE           Bill               02/26/2019   DIP 2325486                 Fox Rothschild LLP                               03/08/2019   $        15,904.00
PRE           Bill               04/17/2019   DIP 2348955-1               Fox Rothschild LLP                               05/17/2019   $         3,016.57
PRE           Bill               01/31/2019   DIP INS-003-07              Global Insights + Solutions LLC                  03/02/2019   $        19,102.40
PRE           Bill               03/04/2019   DIP INS-003-08              Global Insights + Solutions LLC                  04/03/2019   $        18,097.01
PRE           Bill               04/04/2019   DIP G2702511                HireRight, LLC                                   05/04/2019   $           120.62
PRE           Bill               02/06/2019   DIP VA-19                   IGES, LLC                                        03/08/2019   $         2,070.08
PRE           Bill               03/05/2019   DIP VA-20                   IGES, LLC                                        04/04/2019   $        20,700.80
PRE           Bill               04/09/2019   DIP VA-21                   IGES, LLC                                        05/09/2019   $           985.75
PRE           Bill               04/16/2019   DIP Q4 2018                 ILLINOIS DEPT OF EMPLOYMENT SECURITY             04/30/2019   $            50.00
PRE           Bill               01/31/2019   DIP 1148                    InQuisient                                       03/02/2019   $        18,765.00
PRE           Bill               04/09/2019   DIP 1151                    InQuisient                                       05/09/2019   $        21,600.00




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PRE           Bill               04/09/2019   DIP 1154                InQuisient                               05/09/2019   $       1,350.00
PRE           Bill               01/07/2019   DIP 285330              JONES, BLECHMAN, WOLTZ & KELLY, P.C.     02/06/2019   $         400.00
PRE           Bill               01/31/2019   DIP ITS013119           Kinetic Solutions, LLC                   03/02/2019   $      16,720.00
PRE           Bill               03/08/2019   DIP ITS022819           Kinetic Solutions, LLC                   04/07/2019   $      15,200.00
PRE           Bill               04/10/2019   DIP ITS033119-1         Kinetic Solutions, LLC                   05/10/2019   $         760.00
PRE           Bill               01/31/2019   DIP 20119-1             Leading Strategy, Inc.                   03/02/2019   $       9,120.00
PRE           Bill               04/10/2019   DIP 20219               Leading Strategy, Inc.                   05/10/2019   $      15,200.00
PRE           Bill               04/10/2019   DIP 20319-1             Leading Strategy, Inc.                   05/10/2019   $         760.00
PRE           Bill               01/25/2019   DIP 21105               Linebarger Goggan Blair & Simpson, LLP   02/04/2019   $         217.61
PRE           Bill               02/11/2019   DIP ITS-10213           Magnum Multimedia, Inc.                  03/13/2019   $       6,764.42
PRE           Bill               05/17/2019   DIP Elec 12/4-3/3       PCT LLC                                  05/17/2019   $       1,035.88
PRE           Bill               03/01/2019   DIP Rent-3/2019         PCT LLC                                  03/01/2019   $      10,159.26
PRE           Bill               01/31/2019   DIP 00035-01            PKS, LLC                                 02/15/2019   $         558.00
PRE           Bill               03/08/2019   DIP 00035-2             PKS, LLC                                 03/23/2019   $       2,945.00
PRE           Bill               03/04/2019   DIP 00036-01            PKS, LLC                                 03/19/2019   $       3,487.50
PRE           Bill               04/23/2019   DIP 00036-2-01          PKS, LLC                                 05/08/2019   $         697.50
PRE           Bill               01/06/2019   DIP IT-002              SDA Solutions, LLC                       02/05/2019   $         187.82
PRE           Bill               01/31/2019   DIP IT-003              SDA Solutions, LLC                       01/31/2019   $       4,413.77
PRE           Bill               03/06/2019   DIP IT-004              SDA Solutions, LLC                       04/05/2019   $       6,198.06
PRE           Bill               03/25/2019   DIP 2154901             SELMAN & COMPANY                         03/25/2019   $         489.50
PRE           Bill               03/08/2019   DIP 18-157              Sprezzatura                              03/08/2019   $      15,587.04
PRE           Bill               03/11/2019   DIP 19-010              Sprezzatura                              03/11/2019   $      14,102.56
PRE           Bill               05/02/2019   DIP 19-022              Sprezzatura                              05/02/2019   $         742.24
PRE           Bill               03/01/2019   DIP Rent- CHS Mar 19    STH, LLC                                 03/11/2019   $       1,726.67
PRE           Bill               01/09/2019   DIP 1579                TapRoot Solutions, Inc.                  01/09/2019   $       3,225.00
PRE           Bill               03/06/2019   DIP 1614                TapRoot Solutions, Inc.                  03/06/2019   $         525.00
PRE           Bill               03/06/2019   DIP 1639                TapRoot Solutions, Inc.                  03/06/2019   $         525.00
PRE           Bill               03/13/2019   DIP 2092542             TROUTMAN SANDERS                         03/23/2019   $       1,049.00
PRE           Bill               03/04/2019   DIP 1702-17             VAIL Technologies, LLC                   04/03/2019   $      11,031.68
PRE           Bill               03/05/2019   DIP 1702-18             VAIL Technologies, LLC                   04/04/2019   $      21,060.48
PRE           Bill               03/21/2019   DIP 1702-19             VAIL Technologies, LLC                   04/20/2019   $      19,054.72
PRE           Bill               04/09/2019   DIP 1702-20             VAIL Technologies, LLC                   05/09/2019   $       1,002.88
PRE           Bill               01/02/2019   DIP 2019021             Zeva Incorporated                        03/07/2019   $      26,696.00
PRE           Bill               05/01/2019   DIP 2019040             Zeva Incorporated                        05/01/2019   $      26,696.00
PRE           Bill               03/11/2019   DIP 2019052             Zeva Incorporated                        04/10/2019   $       1,241.74
Total Pre-petition Accounts Payable                                                                                         $   1,771,595.52

Total Accounts Payable                                                                                                      $   1,791,819.55




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                 Type       Date           Num        P. O. #                 Name                  Terms    Due Date                       Class                   Aging   Open Balance

Current
                Invoice   07/01/2019   T4NG5024     116-S86373      13-Direct Public:13.01-Direct VeNet 30   07/31/2019   Public:Department of Veterans Affairs                 10,103.57
                Invoice   07/05/2019   HCIdM0065    VA701-14-C-00 13-Direct Public:13.01-Direct VeNet 30     08/04/2019   Public:Department of Veterans Affairs                 88,302.24
                Invoice   07/05/2019   T4NG4031     116-S95281      13-Direct Public:13.01-Direct VeNet 30   08/04/2019   Public:Department of Veterans Affairs                137,130.03
                Invoice   07/05/2019   T4NG10009    116-S86896      13-Direct Public:13.01-Direct VeNet 30   08/04/2019   Public:Department of Veterans Affairs                 99,420.60
                Invoice   07/05/2019   T4NG110009   101-S85372      13-Direct Public:13.01-Direct VeNet 30   08/04/2019   Public:Department of Veterans Affairs                 97,739.19
                Invoice   07/05/2019   T4NG8022     116-S95581      13-Direct Public:13.01-Direct VeNet 30   08/04/2019   Public:Department of Veterans Affairs                 65,725.81
                Invoice   07/05/2019   iCON0062     122-J92006      13-Direct Public:13.01.55-GSA Net 30     08/04/2019   Public:Department of Veterans Affairs                 17,048.53
                Invoice   07/09/2019   T4NG6025     Below, 6/1/19-6/13-Direct Public:13.01-Direct VeNet 30   08/08/2019   Public:Department of Veterans Affairs                967,756.20
                Invoice   07/09/2019   AIMKE036F    107577SB1R      12-Direct DoD:12.02-Direct ArmNet 30     08/08/2019   DoD:Army                                               3,130.76
                Invoice   07/09/2019   F3I0018      N/A             12-Direct DoD:12.01-Direct Air Net 30    08/08/2019   DoD:Air Force                                         43,654.63
                Invoice   07/09/2019   WHHL04       0098325032      13-Direct Public:13.01-Direct VeNet 30   08/08/2019   Public:Department of Veterans Affairs                  2,261.00
                Invoice   07/09/2019   FMBT003      104629-1        13-Direct Public:13.01.300019-FNet 30    08/08/2019   Public:Department of Veterans Affairs                 64,484.50
Total Current                                                                                                                                                                 1,596,757.06
1 - 30
                Invoice   06/10/2019   F3I0017      N/A             12-Direct DoD:12.01-Direct Air Net 30    07/10/2019   DoD:Air Force                                21           83.78
                Invoice   06/10/2019   WHHL03       0098325032      13-Direct Public:13.01-Direct VeNet 30   07/10/2019   Public:Department of Veterans Affairs        21        6,483.75
                Invoice   06/11/2019   T4NG6024     Below, 5/1/19-5/13-Direct Public:13.01-Direct VeNet 30   07/11/2019   Public:Department of Veterans Affairs        20     1,039,686.34
                Invoice   06/17/2019   T4NG6022-1   Below, 3/1/19-3/13-Direct Public:13.01-Direct VeNet 30   07/17/2019   Public:Department of Veterans Affairs        14       46,318.04
Total 1 - 30                                                                                                                                                                  1,092,571.91
31 - 60
                Invoice   05/13/2019   WHHL02       0098325032      13-Direct Public:13.01-Direct VeNet 30   06/12/2019   Public:Department of Veterans Affairs        49       21,413.00
                Invoice   05/13/2019   T4NG6022     Below, 3/1/19-3/13-Direct Public:13.01-Direct VeNet 30   06/12/2019   Public:Department of Veterans Affairs        49      962,857.47
Total 31 - 60                                                                                                                                                                  984,270.47
61 - 90
                Invoice   04/09/2019   WHHL01       0098325032      13-Direct Public:13.01-Direct VeNet 30   05/09/2019   Public:Department of Veterans Affairs        83        2,926.00
Total 61 - 90                                                                                                                                                                    2,926.00
> 90
                Invoice   12/22/2018   MC0008L      0098325032      13-Direct Public:13.01-Direct VeNet 30   01/21/2019   Public:Department of Veterans Affairs       191          322.20
                Invoice   12/22/2018   MC0014T      0098325032      13-Direct Public:13.01-Direct VeNet 30   01/21/2019   Public:Department of Veterans Affairs       191          977.04
                Invoice   12/22/2018   MC0015T      0098325032      13-Direct Public:13.01-Direct VeNet 30   01/21/2019   Public:Department of Veterans Affairs       191        1,728.29
                Invoice   12/31/2018   MSC0005L     0098079001      13-Direct Public:13.01-Direct VeNet 30   01/30/2019   DoD:Army                                    182          418.86
                Invoice   12/31/2018   MC0016T      0098325032      13-Direct Public:13.01-Direct VeNet 30   01/30/2019   Public:Department of Veterans Affairs       182        1,594.89
                Invoice   01/01/2019   MC0013L      0098325032      13-Direct Public:13.01-Direct VeNet 30   01/31/2019   Public:Department of Veterans Affairs       181          579.96
Total > 90                                                                                                                                                                       5,621.24
TOTAL                                                                                                                                                                         3,682,146.68




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Accrual Basis                                     BalancePage
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ASSETS
   Current Assets
         Checking/Savings
             1009 ꞏ Insignia OP DIP 9370                            2,327,622.32
             1010 ꞏ Cap One DIP 1293                                1,166,975.63
             1011 ꞏ Cap One Check DIP 9084                          2,014,459.22
         Total Checking/Savings                                     5,509,057.17
         Accounts Receivable
             1200 ꞏ Accounts Receivable                             3,682,146.68
         Total Accounts Receivable                                  3,682,146.68
         Other Current Assets
             1201 ꞏ Work In Progress (WIP)                          1,604,746.38
             1260 ꞏ Prepaid Expenses
                  1262 ꞏ Professional Retainer Fees                   410,000.00
                  1260 ꞏ Prepaid Expenses - Other                      57,877.78
             Total 1260 ꞏ Prepaid Expenses                            467,877.78
             1261 ꞏ Security Deposits                                   6,353.83
             1300 ꞏ Employee Advance                                    2,115.79
         Total Other Current Assets                                 2,081,093.78
   Total Current Assets                                            11,272,297.63
   Fixed Assets
         1705 ꞏ Furniture and Equipment                                28,378.33
         1707 ꞏ Transportation                                         52,938.47
         1710 ꞏ Hardware                                              188,098.44
         1715 ꞏ Software                                               35,199.40
         1750 ꞏ Accumulated Depreciation                             -228,199.90
   Total Fixed Assets                                                  76,414.74
TOTAL ASSETS                                                       11,348,712.37
LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Accounts Payable
                  2000 ꞏ Accounts Payable                           1,791,819.55
             Total Accounts Payable                                 1,791,819.55
             Other Current Liabilities
                  2100 ꞏ Payroll Liabilities
                       2101 ꞏ Aflac                                         221.82
                       2102 ꞏ 401k Withheld                                 509.65
                       2103 ꞏ Flexible Spending Account (FSA)          -3,165.56
                       2106 ꞏ Legal Benefit                              -155.62
                       2107 ꞏ 401k Loan Withheld                            -44.90
                       2108 ꞏ 401k Match                               27,089.75
                       2109 ꞏ Vision Withheld                            -321.94
                       2112 ꞏ Accrued PTO                             244,942.61
                       2113 ꞏ Accrued Payroll                         536,746.91




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                       2100 ꞏ Payroll Liabilities - Other                     4,331.23
                  Total 2100 ꞏ Payroll Liabilities                          810,153.95
                  2114 ꞏ Sales/Use Tax Payable                                    189.81
                  2300 ꞏ Short Term Notes Payable                             7,950.22
                  2400 ꞏ Accrued Expense                                  1,995,857.01
            Total Other Current Liabilities                               2,814,150.99
       Total Current Liabilities                                          4,605,970.54
       Long Term Liabilities
            2500 ꞏ Long Term Notes Payable                               11,419,523.00
       Total Long Term Liabilities                                       11,419,523.00
   Total Liabilities                                                     16,025,493.54
   Equity
       3050 ꞏ Fred O'Brien Draws                                           -922,615.21
       3900 ꞏ Retained Earnings                                          18,962,407.97
       3901 ꞏ Partner Buyout                                             -23,919,523.00
       Net Income                                                         1,202,949.07
   Total Equity                                                           -4,676,781.17
TOTAL LIABILITIES & EQUITY                                               11,348,712.37




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  Ordinary Income/Expense
         Income
             4100 ꞏ Project Revenue                                      1,921,952.19
         Total Income                                                    1,921,952.19
         Cost of Goods Sold
             5000 ꞏ Direct Costs
                    5003 ꞏ Direct Labor-CL Site                           317,855.80
                    5004 ꞏ Direct Labor-CO Site                           391,285.12
                    5010 ꞏ Travel - Billable                                  206.00
                    5020 ꞏ Subcontractors                                 453,393.98
                    5030 ꞏ Other Direct Costs (ODCs)                           20.00
                    5031 ꞏ Other Direct Costs-Non Billable                    622.74
             Total 5000 ꞏ Direct Costs                                   1,163,383.64
         Total COGS                                                      1,163,383.64
     Gross Profit                                                         758,568.55
         Expense
             6000 ꞏ Fringe Expense
                    6007 ꞏ Flexible Spending Account Trans                  3,000.00
                    6010 ꞏ Holiday                                         40,922.58
                    6015 ꞏ PTO                                             40,476.17
                    6020 ꞏ Bereavement Leave                                2,193.52
                    6035 ꞏ Payroll Tax Expense                             65,776.02
                    6040 ꞏ Payroll Service Fees                             3,369.50
                    6041 ꞏ Benefit Admin Fees                               1,233.03
                    6044 ꞏ Retirement Plan Expense-Members                    369.24
                    6045 ꞏ Retirement Plan Expense                         13,952.05
                    6047 ꞏ SCA Health & Welfare Expense                     2,319.90
                    6100 ꞏ Insurance
                        6181 ꞏ Disability Insurance                           122.97
                        6182 ꞏ Life Insurance                               -2,005.25
                        6189 ꞏ Worker's Compensation                        1,258.25
                        6192 ꞏ Medical Insurance                           59,391.34
                        6193 ꞏ Dental insurance                               672.06
                        6196 ꞏ Medical Insurance-Members                    -9,941.56
                    Total 6100 ꞏ Insurance                                 49,497.81
             Total 6000 ꞏ Fringe Expense                                  223,109.82
             7000 ꞏ Overhead Expense
                    7100 ꞏ Company Site Overhead
                        7101 ꞏ OH Labor - MG                               11,945.00
                        7102 ꞏ OH Labor-CO Site                               433.89
                        7125 ꞏ Computer Expenses                              923.02
                        7126 ꞏ Internet Expenses                              972.75
                        7135 ꞏ Dues and Subscriptions                          83.51
                        7150 ꞏ Office Supplies                                200.57
                        7155 ꞏ Printing and Reproduction                      398.51




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                    7162 ꞏ Professional Devel-Company Site         434.63
                    7180 ꞏ Rent                                   8,145.80
                    7182 ꞏ Software Expensed                      1,604.93
                    7185 ꞏ Telephone & Fax                        1,296.00
                    7199 ꞏ Utilities                               611.59
               Total 7100 ꞏ Company Site Overhead                27,050.20
               7200 ꞏ Client Site Overhead
                    7202 ꞏ OH Labor-CL Site                         20.00
               Total 7200 ꞏ Client Site Overhead                    20.00
           Total 7000 ꞏ Overhead Expense                         27,070.20
           8000 ꞏ G&A Expense
               8002 ꞏ G&A Labor                                 107,718.40
               8011 ꞏ Association & Membership Fees                 34.08
               8020 ꞏ Cleaning/Janitorial                           55.96
               8026 ꞏ Internet Expenses                            989.46
               8035 ꞏ Dues and Subscriptions                       318.00
               8050 ꞏ Office Supplies                             2,316.95
               8051 ꞏ Personal Property Tax                         37.84
               8055 ꞏ Printing and Reproduction                    101.15
               8060 ꞏ Professional Development                     454.00
               8065 ꞏ Postage and Delivery                            7.45
               8075 ꞏ Recruiting                                  1,653.40
               8080 ꞏ Rent                                        3,740.13
               8082 ꞏ Software Expensed                           1,840.18
               8085 ꞏ Telephone & Fax                               41.42
               8090 ꞏ Telephone Employee Reimb                      69.20
               8099 ꞏ Utilities                                    416.99
               8115 ꞏ Bank Service Charges                            2.36
               8132 ꞏ Gas                                          126.54
               8181 ꞏ Repairs & Maintenance                         81.13
               8188 ꞏ General Liability Insurance                 3,152.68
               8200 ꞏ Professional Fees
                    8276 ꞏ Legal Fees                            66,099.00
               Total 8200 ꞏ Professional Fees                    66,099.00
               8300 ꞏ Travel
                    8301 ꞏ Travel                                  140.00
                    8302 ꞏ Meals                                   306.98
               Total 8300 ꞏ Travel                                 446.98
               8600 ꞏ Business Development
                    8601 ꞏ Business Development-Labor            24,249.10
                    8603 ꞏ Business Development-Meals              233.60
                    8604 ꞏ Business Development-Travel             759.96
                    8605 ꞏ Business Development Labor-MG         10,968.70
               Total 8600 ꞏ Business Development                 36,211.36
           Total 8000 ꞏ G&A Expense                             225,914.66




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                 9000 ꞏ Unallowable
                      9014 ꞏ Employee Morale                            373.24
                      9035 ꞏ Penalties and Fees                          52.99
                      9080 ꞏ Miscellaneous Unallowable                  875.01
                 Total 9000 ꞏ Unallowable                              1,301.24
             Total Expense                                           477,395.92
   Net Ordinary Income                                               281,172.63
   Other Income/Expense
       Other Income
             9100 ꞏ Interest Income                                    3,381.92
             9300 ꞏ Other Income                                       1,000.00
       Total Other Income                                              4,381.92
   Net Other Income                                                    4,381.92
Net Income                                                           285,554.55




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                              What should I do if I find an error or problem on my statement?


  In case of error or questions about your electronic transfers telephone us at 1-888-755-2172 or write us at Capital
  One, N.A., 7933 Preston Rd. Plano, Texas 75024, Attn: Customer Service Center as soon as you can, if you think your
  statement or receipt is wrong or if you need more information about a transfer on the statement or receipt.

  For small business accounts: Please refer to your Electronic Fund Transfer Agreement/Disclosure for additional
  information.

  For consumer accounts: We must hear from you no later than 60 days after we sent you the FIRST statement on which
  the error or problem appeared.
     1. Tell us your name and account number (if any).
     2. Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe it is
          an error or why you need more information.
     3. Tell us the dollar amount of the suspected error.

 We will investigate your complaint and will correct any error promptly. If we take more than 10 business days to do
 this, we will credit your account for the amount you think is in error, so that you will have the use of the money during
 the time it takes us to complete our investigation.




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